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             IN THE UNITED STATES DISTRICT COURT
          FOR THE WESTERN DISTRICT OF PENNSYLVANIA

      MADISON M. LARA, et al.                 :
                                              :
                         Plaintiffs           :
                                              :
            v.                                :   Civil Action No. 2:20-cv-01582
                                              :
      COL. ROBERT EVANCHICK,                  :
                                              :
                         Defendant            :

                   DECLARATION OF MADISON LARA

      I, Madison Lara, am competent to state and declare the following based on

my personal knowledge:

 1.   I, Madison Lara:

         a. Am a United States citizen;

         b. Am over the age of 18 but under the age of 21;

         c. Am not under indictment;

         d. Have never been convicted of a felony or misdemeanor crime of

            domestic violence;

         e. Have never been convicted of a crime punishable by more than one

            (1) year;

         f. Am not a fugitive from justice;

         g. Am not an unlawful user of, or addicted to, any controlled substance;




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        h. Have not been adjudicated a mental defective or been committed to a

           mental institution;

        i. Have not been discharged from the Armed Forces under dishonorable

           conditions;

        j. Have never renounced my citizenship; and,

        k. Am not the subject of a restraining order relating to an intimate

           partner.

2.   I lawfully own and possess one handgun and one rifle.

3.   It is my present intention and desire to carry firearms, including my

     handguns and rifle, for all lawful purposes including self-defense and in case

     of confrontation, without being subjected to criminal sanction and the loss of

     my liberty and rights under Defendant’s laws.

4.   It is also my present intention and desire to be able to lawfully transport all

     of my firearms within the Commonwealth, including but not limited to being

     able to:

        a. With an unloaded firearm, stop for a bathroom breaks, food, non-

           alcoholic drinks and coffee, or to pick up or drop off a friend, when

           going to or from:

                i. a range;

                ii. target shooting;



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             iii. a place of purchase to my home or place of business;

             iv. a place of repair, sale or appraisal;

              v. a place of abode or business to another; and,

             vi. a place where I desire to hunt.

        b. With an unloaded firearm, travel throughout the Commonwealth to

           and from lawful places, where I may otherwise lawfully possess and

           carry a firearm, including, but not limited to:

               i. friends’ houses;

              ii. businesses; and,

             iii. from a successful hunt to a business that processes/butchers the

                  successfully taken game.

        c. Travel in a mode of transportation and carry on the public streets and

           public property throughout the Commonwealth a loaded, operable

           firearm on my person for self-defense, defense of my family and

           others, and in case of confrontation in public requiring defensive

           action.

5.   However, as a result of Defendant’s active enforcement of Section 6109(b),

     Defendant is precluding me from obtaining a license to carry firearms, and

     therefore subjecting me to the transportation and carry restrictions specified

     in Sections 6106 and 6107, which Defendant is also actively enforcing and



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     which criminalizes my desired conduct to lawfully transport and carry

     firearms to and from the aforementioned locations and for the

     aforementioned activities, including for self-defense and in case of

     confrontation in public requiring defensive action.

6.   As a result of Defendant’s current enforcement of Sections 6106 and 6107, if

     I attempt any of the conduct specified in ¶¶ 3 and 4, supra, I will be subject

     to prosecution and criminal sanction for a felony offense of the third degree

     criminal charges, pursuant to Section 6106(a)(1).

7.   Thus, although I can vote, serve on a jury, hold public office, marry, have

     children, sign legally binding contracts, join or potentially be drafted into the

     armed forces or called upon for state militia service, and even be held fully

     accountable before the law for criminal matters to the point of being

     executed (see, 18 U.S.C. § 3591), Defendant’s enforcement of 18 Pa.C.S. §

     6109(b) prevents me from obtaining a license to carry firearms and therefore

     subjects me to criminal sanction under Sections 6106 and 6107 for lawfully

     transporting a firearm and/or carrying a firearm anywhere in this

     Commonwealth, in violation of my fundamental constitutional right to keep

     and bear arms for self-defense and in case of confrontation in public

     requiring defensive action.




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8.   Ironically, pursuant to Pennsylvania’s Uniform Firearms Act, 18 Pa.C.S. §

     6101, et seq., 18-to-20-year-olds like and including me may be prosecuted

     for numerous firearms-related offenses and are thereby considered mature

     enough to be held fully accountable for their criminal actions; yet, by virtue

     of Defendant’s enforcement of the challenged laws, even the most law-

     abiding 18-to-20-year-olds are prevented from transporting and carrying

     firearms, even though, they would, overnight and without any other change

     of circumstance, become eligible to engage in such conduct as the Second

     and Fourteenth Amendments protect if they were to merely join the military.

9.   I am a responsible, law-abiding, peaceable citizen with no history of violent

     behavior, mental health disqualification, or other conduct that would suggest

     I pose any threat or danger.

10. I have to this time abstained from the conduct specified in ¶¶ 3 and 4, supra,

     based on my reasonable fear of arrest, prosecution, incarceration, and/or

     fine, pursuant to 18 Pa.C.S. §§ 6106, 6107, as they are being enforced by

     Defendant, should I attempt the conduct specified in ¶¶ 3 and 4, supra.

11. I intend to engage in the conduct specified in ¶¶ 3 and 4, supra, as all law-

     abiding adult citizens are constitutionally entitled to.

12. Unless an injunction issues preventing the enforcement of 18 Pa.C.S. §§

     6106, 6107, and/or the State’s age-based ban on the application and issuance



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      of a license to carry firearms such that I can apply for and be issued a license

      to carry and, through that license, be exempt from the restrictions imposed

      by Sections 6106 and 6107, I would face arrest, prosecution, incarceration,

      and/or fine, pursuant to 18 Pa.C.S. §§ 6106, 6107, as they are being enforced

      by Defendant, for the conduct specified in ¶¶ 3 and 4, supra.



I declare under penalty of perjury that the foregoing is true and accurate to the best

of my information, knowledge and belief.




Date: November ___, 2020                             _________________________
                                                     Madison Lara




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